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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

3 CASE NO. 8:14-cr- 4 or \23 XQ

46 U.S.C. § 70503(a)

HECTOR CASTILLO, 46 U.S.C. §§ 70506(a) and (b)
GIEZI MAGNO ZAMORA, 21 U.S.C. § 960(b)(1)(B)(ii)
JHONNY ENRIQUE ARCENTALES MERO, 46 U.S.C. § 70507-(Forfeiture)
CARLOS JONATHAN QUIJIJE FRANCO, 21 U.S.C. § 881(a)-(Forfeiture)
ERNESTO ESTRADA, 28 U.S.C. § 2461(c)-(Forfeiture)
FABIAN ESTRADA, and
JAIR GUEVARA PAYAN

INDICTMENT

The Grand Jury charges:

COUNT ONE

Beginning on an unknown date and continuing until on or about September
11, 2014, the defendants,
HECTOR CASTILLO,
GIEZI| MAGNO ZAMORA,
JHONNY ENRIQUE ARCENTALES MERO,
CARLOS JONATHAN QUIJIJE FRANCO,
ERNESTO ESTRADA,
FABIAN ESTRADA, and
JAIR GUEVARA PAYAN,
each of whom will be first brought into the United States at a point in the Middle
District of Florida, did knowingly and willfully combine, conspire, and agree with

each other and with other persons, both known and unknown to the Grand Jury, to

possess with intent to distribute five (5) kilograms or more of a mixture and
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substance containing a detectable amount of cocaine, a Schedule II controlled
substance, on board a vessel subject to the jurisdiction of the United States.
All in violation of Title 46, United States Code, Sections 70503(a) and
70506(a) and (b); and Title 21, United States Code, Section 960(b)(1)(B)(ii).
COUNT TWO
On or about September 11, 2014, the defendants,
HECTOR CASTILLO,
GIEZI MAGNO ZAMORA,
JHONNY ENRIQUE ARCENTALES MERO,
CARLOS JONATHAN QUIJIJE FRANCO,
ERNESTO ESTRADA,
FABIAN ESTRADA, and
JAIR GUEVARA PAYAN,
each of whom will be first brought into the United States at a point in the Middle
District of Florida, did knowingly and intentionally, while aiding and abetting each
other and other persons, both known and unknown to the Grand Jury, possess
with the intent to distribute five (5) kilograms or more of a mixture and substance
containing a detectable amount of cocaine, a Schedule II controlled substance, on
board a vessel subject to the jurisdiction of the United States.
All in violation of Title 46, United States Code, Sections 70503(a) and
70506(a); Title 18, United States Code, Section 2; and Title 21, United States

Code, Section 960(b)(1)(B)(ii).
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FORFEITURES

1. The allegations contained in Counts One and Two of this Indictment are
hereby realleged and incorporated by reference for the purpose of alleging
forfeitures, pursuant to the provisions of Title 46, United States Code, Section
70507, Title 21, United States Code, Section 881(a), and Title 28, United States
Code, Section 2461(c).

2. Upon conviction of the violations alleged in Counts One and Two, the
defendants shall forfeit to the United States, pursuant to Title 46, United States
Code, Section 70507, Title 21, United States Code, Section 881(a), and Title 28,
United States Code, Section 2461(c), all property subject to forfeiture pursuant to
Title 21, United States Code, Section 881(a)(1) through (11) that was used or
intended for use to commit, or facilitate the commission of, such offenses.

3. If any of the property described above as being subject to forfeiture, as
a result of any act or omission of the defendant:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third person;

(c) has been placed beyond the jurisdiction of the Court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be subdivided

without difficulty,
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the United States shall be entitled to forfeiture of substitute property under the
provisions of Title 21, United States Code, Section 853(p), as incorporated by Title

28, United States Code, Section 2461(c).

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Foreperson

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